        Case 1:19-cv-00573-JEB Document 12-1 Filed 09/03/19 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               |
JUDICIAL WATCH, INC.,                          |
                                               |
              Plaintiff,                       |
                                               |
              v.                               |    Civil Action No.: 19-0573 (JEB)
                                               |
DEPARMENT OF JUSTICE,                          |
                                               |
              Defendant.                       |
                                               |

          STATEMENT OF MATERIAL FACTS NOT IN GENUINE DISPUTE

       Pursuant to Local Civil Rule 7(h), Defendant U.S. Department of Justice, on behalf of its

component-agency the Federal Bureau of Investigation (“FBI”), through undersigned counsel,

respectfully submits this Statement of Material Facts Not in Genuine Dispute (“SOMF”) in support

of Defendant’s Motion for Partial Summary Judgment.         In support of this SOMF and the

accompanying Motion for Partial Summary Judgment, FBI has attached as Exhibit 1 the

Declaration of Michael G. Seidel (“Seidel Decl.”), Assistant Section Chief of the

Record/Information Dissemination Section, Information Management Division of the FBI.

       By letter dated October 5, 2018, Plaintiff Judicial Watch, Inc. (“Plaintiff”) submitted a

       three-part Freedom of Information Act (“FOIA”) request to the FBI seeking:

              1.   Any and all records of communication between former
                   FBI General Counsel James Baker and former
                   Department of Justice attorney and current Perkins Coie
                   Partner Michael Sussman.

              2.   Any and all records created in preparation for, during,
                   and/or pursuant to any meetings between Mr. Baker and
                   Mr. Sussman.
 Case 1:19-cv-00573-JEB Document 12-1 Filed 09/03/19 Page 2 of 3




       3.   Any and all calendars, agendas, or similar records, either
            in paper or electronic format, documenting the schedule
            and activities of Mr. Baker.

[Def’s Ex. 1-A at 1 (FOIA Request).] Plaintiff limited the request to records created

between January 1, 2016, and December 31, 2016. [Id.]

The FOIA request did not include a privacy waiver for Mr. Sussman nor did it include any

other authorization for disclosure of information to a third party. [Seidel Decl. ¶ 5; see

generally Def’s Ex. 1-A (FOIA Request).]

The FOIA request did not include proof of death of Mr. Sussman. [Seidel Decl. ¶ 5; see

generally Def’s Ex. 1-A (FOIA Request).]

Plaintiff requested a waiver of search and duplication fees as a member of the news media.

[Seidel Decl. ¶ 5.]

In support of its request for a fee waiver, Plaintiff asserted, without providing any factual

support, that “disclosure of the information is in the public interest.” [Def’s Ex. 1-A at 2

(FOIA Request).]

By letter dated October 16, 2018, the FBI acknowledged receipt of Plaintiff’s FOIA request

and assigned it FOIA Request No. 1418827-000. The FBI advised Plaintiff the request for

a public interest fee waiver was under consideration and for purpose of assessing fees,

Plaintiff would be considered news media. [Seidel Decl. ¶ 6.]

On or about March 1, 2019, Plaintiff filed the present lawsuit in the U.S. District Court for

the District of Columbia. [See ECF No. 1 (Complaint).]

In the parties’ June 4, 2019, and June 21, 2019, Joint Status Reports, the FBI advised the

Court and Plaintiff of its intent to assert a privacy Glomar for parts one and two of the




                                          2
        Case 1:19-cv-00573-JEB Document 12-1 Filed 09/03/19 Page 3 of 3




      FOIA request and that it completed the search for records responsive to part three of the

      request. [See ECF No. 8 and 9 (Joint Status Report and Proposed Schedule).]

Dated: September 3, 2019           Respectfully submitted,
                                   JESSIE K. LIU
                                   D.C. Bar #472845
                                   United States Attorney for the District of Columbia

                                   DANIEL F. VAN HORN
                                   D.C. Bar # 924092
                                   Chief, Civil Division

                                   By: /s/ April Denise Seabrook
                                   APRIL DENISE SEABROOK,
                                   D.C. Bar # 993730
                                   Assistant United States Attorney
                                   555 4th Street, N.W.
                                   Washington, D.C. 20530
                                   (202) 252-2525
                                   April.Seabrook@usdoj.gov

                                   COUNSEL FOR DEFENDANT




                                              3
